Case 1:09-cv-00597-LI\/|B-TCB Document 41-1 Filed 10/23/09 Page 1 of 10 Page|D# 686

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

Intersections lnc. and Net Enforcers, Inc.,

Plaimiff$» Civil Action NO. i-.09Cv597 (LMs/TCB)
V.

Joseph C. Loomis and Jenni M. Loomis,

Det`endants.

 

 

DECLARATION OF MICHELLE J. DICKINSON

I, Michelle J. Dickinson, Esquire, hereby declare:

l. l am a partner With the law firm ot`Dl.A Piper LLP (US) in Baltimore, Maryland.
I have been practicing law vvith DLA Piper since 1998. l am the lead litigation attorney handling
discovery in the above-referenced litigation on behalf of Plaintiffs lntersections lnc.
(“Intersections”) and Net Enforcers, lnc. (‘“NEI”).

2. On September 10, 2009, almost a full year after NE[ terminated Joseph Loornis
(“Loomis”), Loomis’ counsel contacted me and suggested that Loornis had just discovered that`
after his termination. Loomis had retained possession of a laptop belonging to NEI and that he
had accidentally returned to NEI a laptop belonging to him. See Exh. A. In response, on
September 16, 2009, I requested that Loomis provide documentation supporting his claim so that
Plaintiffs could investigate See Exh. B. On September 17, 2009, counsel for l_,oomis provided
documentation and the model number of the laptop in Loomis’ possession See Exh. C.

3. l then undertook to determine the veracity of Loomis’ claim by reviewing the
documentation provided and by obtaining and then reviewing documentation obtained from

Plaintift`s regarding the laptop in NEi’s possessionl By letter dated September 25, 2009_, l

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Case 1:09-cv-00597-LI\/|B-TCB Document 41-1 Filed 10/23/09 Page 2 of 10 Page|D# 687

advised Loomis’ counsel that We had confirmed that Loomis had indeed retained the wrong
laptop upon his termination from NEI and that the laptop in his possession was NEI’s property.
See Exh. D. l indicated that, prior to exchanging the laptops, NEI would remove and preserve a
copy of all data contained on the laptop then in its possession in case it was needed for this
litigation ln the interest of cooperation, I suggested that we would send a computer consultant
to Arizona to exchange the laptops and, at the same time, image any computer owned_. leased, or
used by Loomis during and/or after his employment with NEI, in accordance with an outstanding
discovery request. 'l` his would include the computer tower he stole from NEI after he was
terminated

4. A full week later, by email dated October 2, 2009, Loomis’ counsel
acknowledged receipt of our September 25, 2009 letter and accepted our offer to have a
computer technician facilitate the exchange of the laptops. Loomis’ counsel suggested they
would be available to do so the following Monday (October 6) or Tuesday (October 7). See Exh.
E. Loomis’ counsel did not respond to our request regarding imaging the computers

5. In response that same day, I again suggested that the parties arrange for the
computer consultant to image Loomis’ other computers pursuant to the outstanding discovery
requests on the same day of the exchange to avoid the unnecessary additional expenses
associated with the consultant having to make more than one trip to Arizona. See Exh. F.

6. Loomis’ counsel did not respond until Monday, October 5, 2009, where they
rescinded their agreement to allow the computer consultant to facilitate the exchange See Exh.
G. l immediately responded that a computer consultant was necessary and stated that "ln light of
the data destruction issues in this case, our client is taking extra measures to ensure that the

exchange of computers does not unnecessarily lead to a data destruction problcm.” See Exh. H.

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 3 of 10 Page|D# 688

In response, Loomis’ counsel threatened to add a conversion counterclaim and have her client
call the police:

lf l do not have Joe's laptop by the end of the business day tomorrow, we will
move to add a conversion count to the counterclaim and Joe will call the police l
arn not conditioning the release of NEI's laptop on the resolution of any of our
discovery issues, and there is no excuse for you conditioning the release of Joe's
laptop on any of those issues.

See Exh. I.
7. In response, l advised of our intention to return Loomis’ laptop in “the next week
or so” after any NEI data was removed:

We are prepared to retrieve Net Enforcers' laptop and return Loomis' laptop with
the software intact and only the data removed We will do so, however_. only
under circumstances that will protect our clients from potential claims from
Loomis that our clients destroyed data or damaged either computer. Further, we
will do so under circumstances such thata qualified computer technician may
testify that the computer Loomis provides was not damaged after the exchange
and before any forensic analysis can be performed Accordingly, we will send a
computer technician to your offices to make the exchange and transport the
computer back to the East Coast for examination We should be able to do so in
the next week or so after the data has been removed We trust this will assuage
your desire to bring civil or criminal charges against our clients related to the
laptop computer and will enable you to refocus your energies on the actual issues
in this case.

We again request that you provide Loomis‘ computers for imaging by the
computer technician we send to exchange the laptops. This will save the parties
time and resources Rather than threatening a counterclaim or criminal action`
perhaps you could respond to our request for the computer images directly and
indicate whether you intend to produce Loomis' computers for imaging, an image
of his computers, or nothing at all. lf so, we can arrange for the images to be
made by the computer technician at the time of the laptop exchange lf not,
we will move forward with seeking the court's assistance with this matter.

See Exh. J.
8. Loomis’ counsel demanded the return of Loomis’ laptop by 5:00 p.m. the next

day, October 6. She agreed, however, that that if our computer consultant could give sufficient

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 4 of 10 Page|D# 689

notice for Loomis to arrange to get the computer tower to their offices prior to the consultant’s
visit, he could image the hard drives on the computer tower that same day. See Exh. K.

9. l advised that the laptop was on its way to Washington, D.C., so that our
computer consultant could remove NEI’s company data. See Exh. L. l advised that we were
taking extra precautions in light of the data destruction issues in this case:

The laptop Joe returned to NEI last year is on its way to Washington, D.C. so that

our computer consultant can remove the data_. not the software Once it has been

removed, we will arrange for a time for him to deliver it to your office in Arizona

and pick up the NEl laptop. We will schedule the exchange for a clay when Joe

can provide the computer tower for imaging as well. We understand that you do

not care whether we take special precautions with Joe's computer, but we must

protect our clients from allegations Joe likely will make if we don't do so. lf you

recall, a just few hours ago, he had you ready to file a counterclaim and call the

police over a laptop he gave NEI over a year ago and that we already agreed to

return. We're covering ourselves. We expect you would do the same in this

situation

10. Loomis’ counsel responded and again raised the spector of criminal charges and a
counterclaiml See Exh. M. Loomis’ counsel did not provide a date or time for the technician to
image the computer tower.

ll. On October 14, 2009, Loomis’ counsel sent a person to NEl’s offices to return the
laptop Loomis wrongfully retained NEi’s employees did not know about or understand the
nature of the dispute, and thus refused to accept the laptop. See Exh. N. Loomis’ counsel stated
in an email that day that Loomis had contacted the police regarding the alleged theft of his
laptop.

12. Later that evening, l advised by email that the computer consultant had
determined that there was no company data on the laptop. I, therefore, suggested that Loomis

advise as to when he could arrange for the computer tower to be retrieved from storage so that a

computer consultant could facilitate the exchange of the laptops and image the computer tower

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 5 of 10 Page|D# 690

on the same day. See Exh. O.

l3. On October 15, 2009~ Loomis’ counsel demanded that we immediately retrieve
the laptop then in Loomis’ possession Loomis’ counsel accused us of the interstate
transportation of stolen goods and advised that the police were being notified:

Michelle, lsabel is out of the office today, but I saw this email and must respond
You were informed on September 10 that NEI was in possession of Joe's laptop,
that it had no NEI data on it and that Joe wanted it back immediately The
laptop was in this building in AZ_. but you and NEI refused to return it, and to
make matters worse, NEI removed it from the building and from Arizona
(interstate transportation of stolen goods). Now over a month later, you finally
send this email, acknowledging that everything Joe told you about the laptop was
true. Let me make myself clear, you are holding stolen property. The police
are being notified You can make all of the excuses that you want to, but
continuing to hold someone else's property after they have demanded its return is
theft. Look it up.

Regarding NEl's computer, we have tried to return it to you, but you have not
agreed to accept it. We tried to deliver it to NEI right here in the building (as they
are moving out) but they refused it, claiming they had to talk to "their lawyer"
first. l WILL NOT KEEP THIS COMPUTER IN THIS OFFICE FOR
ANOTHER DAY. It's your choice, either NEI accepts it downstairs or I will
personally deliver it to the DLA Piper office at l pm AZ time today. Your
choice. [f l don't hear from you in the next two hours, l will make the choice for
you.

See Exh. P.

14. Before l had the opportunity to respond, Loomis’ counsel sent another email
stating:

Only 45 minutes to go and, if l don't hear from you, l will make the choice for

you. Either it will go to NEI's office here in our building or to the DLA Piper

office in AZ (that l can see out my window). Make the choice in the next 45
minutes, or l'll make it for you. No more fooling around

See Exh. Q.

15. ln response to the first email, l advised of our understanding that Loomis` counsel

had agreed to exchange the laptops on the same day that a computer consultant imaged the

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 6 of 10 Page|D# 691

computer tower and that as soon as Loomis provided a date, we would send a computer
technician tO Arizona. See, Exh. R.
16. Loomis’ counsel responded:

Wrong. Read my lips - The NEI laptop WILL NOT remain in our office for one
more day. Your time is up.

See Exh. T.
17. Later that afternoon, Loomis had the laptop in his possession delivered to the
Phoenix office of DLA Piper. See Id., Exh. U:

Mlchelle, attached is an Acknowledgement of Receipt signed by your law firm's
AZ receptionist Paula Hawley, acknowledging the receipt of NEl's laptop. M
police have been notified that your client, with your help, has stolen Joe's laptop
and transported the Stolen laptop out of state. We demanded its return September
10. lt was right here in our building when you learned that it was Joe's laptop and
that he wanted it back immediately After that, you and/or your client spirited it
out of the building and transported it accross [sic] state lines. You have spent the
last 35 days making excuses on why you didn‘t return it. l don't know about your
iurisdiction, but in AZ, if a lawyer aided and abetted a client in a theft (and then
encouraged the client to transport the stolen property across state lines) the AZ
state bar would frown on that. We are done fooling around with this. lt is now a
police matter. I won't be surpris_§d if you and your client are arrested wheg

you arrive in AZ.

lS. By letter sent via email on Friday, October 16, 2009, l advised that a computer
consultant would arrive at Loomis’ counsel’s law offices on l\/londay, October l9, 2009 to
deliver the laptop and to image the computer tower. I expressed our hope that this was the end of
Loomis’ and his counsel’s diversionary tactics and that the parties could get back to litigating

this case. See Exh. V.

19. On Monday, October 19, 2009, Plaintiffs’ computer technician delivered the
laptop to Loomis’ counsel. Loomis’ counsel did not, however, provide the computer tower for

imaging.

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 7 of 10 Page|D# 692

 

20. On the night of October 19, 2009, Loomis sent an email to me threatening criminal
charges:

Fyi, l have a criminal attorney working on this. She was the public defender for
Phoenix for many years and knows the city prosecutor very well. Relationships l
built while working for the feds. l expect to have the investigation and charges
filed within a week, including Dickinson and also lNTX.

I wonder if they are going to try to lie their way out of this one also. lt sure will be
a circus act for their shareholders. I feel bad for those who own stock of intx, a
identity theft company stealing property. l also expect to also explain this to the

wsj also.
See Exh. W.
21. On October 20, 2009, Loomis’ counsel emailed me and again accused me and

lntersections of theft and threatened to have us thrown in jail:

l have to tell you a true story. My daughter is also an attorney in AZ, and she had
a witness in a case that was in jail, and the sheriff failed to transport the woman to
court. l asked why the woman was in jail and learned that the woman had
a boyfriend who always left his car unlocked and his keys under the seat of his car
while he was at work. He had told that woman that if she needed transportation
she could use his car but tr had to be back when he got oj"work. Some time
later the woman had a need for transportation and borrowed his car from his place
of work. When he came out of work...no car. He called the police, and while the
police were standing there, she drove up with his car to return it. She is now
doing 2 years in jail for the theft of that carl!! In AZ We frown upon folks taking
other people's property without permission

See Exh. X.

22. Since the filing of the Complaint of this action in May 2009, Loomis has
continuously attempted to contact both lntersections and NEl executives and employees, despite
repeated requests that he not do so. Loomis` current counsel has condoned their client’s
behavior.

23. Since August 3, 2009, Loomis has repeatedly emailed and even left a voicemail

message for lntersections’ CEO Michael Stanfield regarding fabricated business opportunities

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 8 of 10 Page|D# 693

and Settlement offers consisting of both parties walking away. See Exh. Y. Plaintiffs’ counsel
has repeatedly requested that Loomis cease all communications but Loomis’ counsel has
refused

24. On October 22, 2009, however, Loomis crossed the line from irritation to
harassment and intimidation when he emailed Mr. Stanfield threatening criminal action against
lntersections and counsel as well as a bar complaint lndeed, Loomis even threatened to reveal
an alleged extra-marital affair by an lntersections employeel

To date1 your “brilliant” representation has only demonstrated
how to be a criminal1 earned themselves a bar complaint and
investigation and soon is only going to land either NEI.
[lntersectionsl or themselves in Jail . . . . This is no threat either,
its [sic] merely explaining to you the continued collateral manage
[sic] that your counsel and “team” are creating Once the
newspapers get a hold of this, what do you think the shareholders
are going to say about this? . . . [lntersections] hasn’t been in the
newspapers very much but it seems that the “team" is going to
make it pretty popular

 

See Exh. Y.

25. Loomis, however, has not limited his harassment to lntersections’ CEO. Indeed,
on August 3l, 2009. Loomis contacted an NEI employee by telephone and threatened that if he
testified in this action Loomis would adversely affect his career. Loomis also attempted to call a
female employee of NEl that day. The NEI employees are in such fear for the personal safety
because of Loomis’ harassment that NEl has had to hire Allied Barton security to protect its
employees and witnesses

26. On September 9, 2009, l again told Loomis’ counsel that neither lntersections and
NEI wanted to have any direct contact with Loomis and requested that Loomis’ counsel advise
him to stop communicating directly with Plaintiffs and stop calling and intimidating Plaintif`fs’

employees Two days later, on September ll, 2009, counsel for Loomis responded to Plaintif`fs’

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 9 of 10 Page|D# 694

request with the following: “l received a letter from you responding to mine. l forget the date
because l placed it so quickly in the round file. ln the future, please don’t waste your time or
mine writing to me with another audience in mind.” See Exh. Z. l responded:

The letter to which l believe you are referring dealt with, among other things
your clients' intimidation of witnesses l cannot image how you would consider
such a serious topic to be a waste of your time, much less mine. We take this
matter very seriously and will not hesitate to escalate it to the court, if it
continues And yes, my letter was written with the expectation that the court may
at some point need to see its contents Regardless of the topic, however, l always
treat opposing counsel with respect, whether deserved or not. l would expect the
same from you in the future.

27. Both parties in this case have noted or stated their intention to take numerous
depositions in the State of Arizona. According to Loomis and Loomis’ counsel, however, if
Plaintif`fs’ counsel or lntersections representatives travel to Arizona for depositions they should
expect to be arrested and thrown in jail. Accordingly, on October 22, 2009, l met and conferred
with Loomis’ counsel and advised that the depositions would have to take place in Virginia or
another state. Loomis’ counsel advised by email that we should travel to Arizona and "face the
music.” Loomis’ counsel has refused to agree to depositions in Virginia or any other location for
these witnesses

Michelle, l think it is very appropriate that Joe has given you fair notice of a

pending criminal complaint rather than ambushing you. You should thank him

for acting fairly and responsibly. lf you feel you are not criminally liable for

directing the theft and interstate transportation of stolen property, l‘m sure there

are a few (hundred) criminal attorneys at your firm who could attempt to persuade

the prosecutor not to prosecute Hiding is not the answer.

In addition it may be a violation of your ethical obligations as an officer of the

court to attempt to avoid a warrant for your arrest, if indeed any such warrant has

been issued (We believe it would be an ethical violation in Arizona, at least, but

perhaps your state has different rules.) l\/loreover, given principles of comity, we

doubt that any federal judge would want to participate in assisting an attorney in

avoiding criminal prosecution in another jurisdiction You may not respect
Arizona, but the federal courts generally treat it like a state just like any other.

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Case 1:09-cv-00597-L|\/|B-TCB Document 41-1 Filed 10/23/09 Page 10 of 10 Page|D# 695

As it turns out, there are a number of deponents with no attachment to either side
who reside in Arizona. You have noticed depositions of Larry Heimer, Sheila
Snyder, Keith Jenkins, Matt Leberer and Chris Loomis These can take place
nowhere but Arizona. lt is perhaps a small thing to be deposed in Maryland vs.
DC vs Virginia Phoenix is 250 miles from any border. People will not simply
"step over thc border" as you stated, to protect you, to whom they owe no favors
Since you have to be in Arizona in any event for these 5 depositions reneging on
our stipulations to depose Jenni and Joe Loomis in Arizona (after flight
arrangements have been made and paid for) and seeking a protective order to
force us to take the depositions of Stuart Bennett and Daniel DiDio outside
Arizona will do you no good

l know you are panicked, but you have not developed a sensible response, Let me
suggest three. (l) Comc to Arizona and face the music; (2) take the depositions
by video conference; and (3) send another of the 1500 DLA Piper lawyers
l ce Exh. AA. This left lntersections and its counsel no other choice but to seek a protective
order from this Court requiring all party and Arizona depositions to be taken in Virginia.
l declare under penalty of perjury under the laws of the State of Virginia and the United

States that the foregoing is true and correct and that this document is executed on October 23,

2009 in Baltimore, l\/laryland. . _ _

-@lwwsn

Michelle J. Dickinson

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